Case 3:20-cv-00278-RLY-CSW Document 131-1 Filed 03/31/23 Page 1 of 2 PageID #: 4824




                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                    Evansville Division

    LYNNETTE J. KAISER, et al.,

                   Plaintiffs,                        Case No.: 3:20-cv-278
           v.

    ALCOA USA CORP. et al.,                           Demand for Jury Trial

                   Defendants.


                  [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION
                  FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY

          Plaintiffs brought suit against Alcoa USA Corp. and related Defendants (“Alcoa”) to

   enforce collectively bargained agreements (“CBAs”) that grant retiring employees the right to

   retiree health care benefits that continue for life and are not subject to unilateral reduction or

   termination by Alcoa. (ECF No. 1). On September 29, 2022, the Court appointed Plaintiff Lynette

   J. Kaiser as the representative of a Class of retirees, their spouses, surviving spouses, and

   dependents whose retiree health benefits were terminated by Alcoa on January 1, 2021. (ECF No.

   108 at 14). On February 23, 2023, by agreement of the parties, this Court stayed discovery into

   damages pending a ruling on Defendants’ liability. (ECF No. 129). On March 31, 2023, Plaintiffs,

   on behalf of themselves and by Plaintiff Lynette J. Kaiser on behalf of the Class, moved for partial

   summary judgment as to liability under Fed R. Civ. P. 56(a) as to the claims brought under Count

   I and Count II of the Class Action Complaint at ECF No. 1.

          NOW, this ___ day of _________, 2023, upon consideration of Plaintiffs’ Motion for

   Partial Summary Judgment as to Liability, their supporting memorandum of law and other

   supporting documents, as well as the opposition thereto, and the entire record in this case, the

   Motion is hereby GRANTED, and partial summary judgment is entered in favor of the Plaintiffs
Case 3:20-cv-00278-RLY-CSW Document 131-1 Filed 03/31/23 Page 2 of 2 PageID #: 4825




   and the Class as to Alcoa’s liability under Counts I and II of the Class Action Complaint. The

   Court hereby ORDERS as follows:

          1.      Alcoa may not unilaterally terminate or reduce the retiree health care coverage,

   including the Medicare Part B reimbursement, that had been provided to Class Members prior to

   January 1, 2021.

          2.      Alcoa must reinstate said coverage and Medicare Part B reimbursements, and

   promptly make such coverage available to all Class Members.

          3.      No later than twenty-one (21) days after entry of this Order, Alcoa must file a

   detailed explanation of its actions pursuant to the preceding paragraph.

          Pursuant to the Court’s February 23, 2023 Order, the parties are also directed to meet and

   confer and within twenty-one (21) days of this Order submit a proposed schedule for additional

   dates related to damages discovery the completion of damages discovery.

          IT IS SO ORDERED.

                                                By the Court:



                                                _____________________________________.




   Served electronically on all ECF-registered counsel.

                                            2
